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AO 245B (Rev. 2/18) Judgment in a Criminal Case
                 Sheet 1



                                   United States District Court                                             FILED IN THE
                                                                                                   UNITED STATES DISTRICT COURT

                                                  District of Hawaii
                                                                                                        DISTRICT OF HAWAII
                                                                                                     Dec 17, 2021, 1:08 pm
                                                                                                   Michelle Rynne, Clerk of Court


         UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                    v.
                                                                 Case Number:      1:19CR00105-002
               ROBERT BEARD
                                                                 USM Number:       11867-122
                                                                 RICHARD H.S. SING , ESQ.
                                                                 Defendant’s Attorney

THE DEFENDANT:

[U]      pleaded guilty to count(s): 1 of the Indictment .
[]       pleaded nolo contendere to counts(s)        which was accepted by the court.
[]       was found guilty on count(s)       after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                              Offense Ended             Count
18 U.S.C. § 152(1)                  Concealment of Bankruptcy Assets               8/20/2014                 1




       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)          and is discharged as to such count(s).

[]       Count(s)       (is)(are) dismissed on the motion of the United States.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and
United States Attorney of material changes in economic circumstances.

                                                                            DECEMBER 17, 2021
                                                                       Date of Imposition of Judgment



                                                                          Signature of Judicial Officer

                                                         SUSAN OKI MOLLWAY, Senior United States District Judge
                                                                    Name & Title of Judicial Officer


                                                                              December 17, 2021
                                                                                    Date
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AO 245B (Rev. 2/18) Judgment in a Criminal case
                 Sheet 4 - Probation
DEFENDANT:   ROBERT BEARD                                                                                     Judgment - Page 2of 6
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                                                         PROBATION
         You are hereby placed on probation for a term of: FIVE(5) YEARS




                                                  MANDATORY CONDITIONS


1.       You must not commit another federal, state, or local crime.
2.       You must not unlawfully possess a controlled substance.
3.       You must refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
         15 days of placement of supervision and at least two periodic drug tests thereafter, but no more than eight valid drug
         test per month during the term of supervision.
         [U]      The above drug testing condition is suspended, based on the court's determination that the defendant poses a
                  low risk of future substance abuse. (check if applicable)
4.       [U]      You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.       []       You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
                  20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender
                  registration agency in the location where you reside, work, are a student, or were convicted of a qualifying
                  offense. (check if applicable)
6.       []       You must participate in an approved program for domestic violence. (check if applicable)
7.       []       You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, 3664.
                  (check if applicable)
8.       You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9.       If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10.      You must notify the court of any material change in your economic circumstances that might affect your ability to pay
         restitution, fine, or special assessments.



You must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on
the attached page.
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                 Sheet 4A - Probation
DEFENDANT:   ROBERT BEARD                                                                                                Judgment - Page 3 of 6
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                                        STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are
imposed became they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time you are
      released, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when to
      report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court
      or the probation officer.
4.    You must answer truthfully the questions asked by the probation officer. Your legitimate invocation of the Fifth Amendment privilege
      against self-incrimination in response to a probation officer’s question shall not be considered a violation of this condition.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or who lives with you, you must notify the
      probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to
      unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time reasonable under the circumstances at your home or elsewhere, and you must
      permit, to the extent you are able or authorized to do so, the probation officer to take any items prohibited by the conditions of your
      supervision that the officer observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
      so. If you do not have full-time employment, you must try to find full-time employment, unless the probation officer excuses you from
      doing so. If you plan to change where you work or if there are substantial changes to your job responsibilities, you must notify the
      probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to
      unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.    Unless you have received advance permission from the probation officer or the association is required by supervision conditions, you must
      not voluntarily and intentionally associate with any person you know is engaged in committing a federal, state, or local crime, not including
      traffic offenses, whether the crime is being committed in or outside of your presence. If you know someone has been convicted of a
      felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, as defined in 18 U.S.C. § 921(a)(4), or
      dangerous weapon (that is, anything that was designed or was modified for the specific purpose of causing bodily injury or death to
      another person, such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
      getting the permission of the court.
12.   If the probation officer determines that you pose a risk to an organization or a person relating to your criminal record or personal history or
      characteristics, the probation officer may require, with the court’s approval, that you notify that organization or person (or that person’s
      parent, guardian, caretaker, or other individual responsible for the person’s welfare) about the risk, and you must comply with that
      instruction. The probation officer may contact the organization or person that you were directed to notify and confirm that you notified that
      organization or person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of
this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at: www.uscourts.gov.


Defendant's Signature:


Date:
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AO 245B (Rev. 2/18) Judgment in a Criminal Case
                 Sheet 4D - Probation
DEFENDANT:   ROBERT BEARD                                                                         Judgment - Page 4of 6
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                                   SPECIAL CONDITIONS OF PROBATION
1.   The fine of $21,000.00 is due within 30 days after sentencing. Any unpaid balance is to be paid during the
     period of probation in monthly installments of 10% of your gross monthly income, commencing 30 days after
     the start of probation. The court may order that this requirement be changed from time to time as your
     circumstances warrant, but no court order shall be required for your voluntary agreement to pay more than the
     court-ordered amount. Interest shall begin accruing on any remaining balance commencing 30 days after the
     start of probation. Payments must be made by payroll deduction, when applicable. You must notify the
     probation officer of any change in your financial circumstances that affect your ability to pay. Your financial
     circumstances must be reviewed by the probation officer on at least an annual basis.

2.   You must provide the probation officer access to any requested financial information and authorize the release
     of any financial information. The probation office may share financial information with the U.S. Attorney's
     Office.

3.   You must apply all monies received from income tax refunds, lottery winnings, inheritance, judgments and any
     anticipated or unexpected financial gains to the outstanding court-ordered financial obligation, at the discretion
     and direction of the court.

4.   You must not incur new credit charges, or open additional lines of credit, or apply for any loans without the
     prior approval of the probation officer. You must not borrow money or take personal loans from any individual
     without the prior approval of the probation officer.

5.   You must maintain a single personal bank account, separate and apart from your spouse, any family members
     or others, into which all income, financial proceeds, and gains must be deposited and from which all expenses
     must be paid.

6.   You must provide the probation officer with access to any and all business records, financial records, client
     lists, and other records, pertaining to the operation of any business you own, in whole or in part, as directed by
     the probation officer.

7.   If you are self-employed, you must employ a bookkeeper and/or accountant to manage your business records
     as to income and expenses, and profits and losses, on a regular basis, at the discretion and direction of the
     probation officer.

8.   You must cooperate with the Internal Revenue Service and State of Hawaii Department of Taxation and arrange
     for the payment of delinquent taxes, interest and penalties, and the timely filing of tax returns and/or corrected
     amended tax returns.

9.   You must submit your person, property, house, residence, vehicle, papers, or office, to a search conducted by
     a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. You
     must warn any other occupants that the premises may be subject to searches pursuant to this condition. The
     probation officer may conduct a search under this condition only when reasonable suspicion exists that you
     have violated a condition of supervision and that the areas to be searched contain evidence of this violation.
     Any search must be conducted at a reasonable time and in a reasonable manner.
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AO 245 B (Rev. 02/18) Judgment in a Criminal Case
                 Sheet 5 - Criminal Monetary Penalties
DEFENDANT:   ROBERT BEARD                                                                                    Judgment - Page 5 of 6
CASE NUMBER: 1:19CR00105-002

                                         CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

        Assessment                  JVTA Assessment*                    Fine                       Restitution
Totals: $ 100.00                    $                                   $21,000.00                 $


[]    The determination of restitution is deferred until       . An Amended Judgment in a Criminal Case (AO245C) will be entered
      after such a determination.

[]    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §3664(i),
      all non-federal victims must be paid before the United States is paid.

Name of Payee                                     Total Loss**           Restitution Ordered       Priority or Percentage




TOTALS                                             $                               $

[]    Restitution amount ordered pursuant to plea agreement         $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
      before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         []       the interest requirement is waived for the            [ ] fine          [ ] restitution

         [U]      the interest requirement for the       [U] fine       [ ] restitution is modified as follows:

         Interest shall begin accruing on any remaining balance commencing 30 days after the start of probation.




*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13,1994, but before April 23,1996.
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
                 Sheet 6 - Schedule of Payments
DEFENDANT:          ROBERT BEARD                                                                                            Judgment - Page 6 of 6
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                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A         []        Lump sum payment of $ due immediately, balance due
                    []     not later than , or
                    []     in accordance   [ ] C, [ ] D, [ ] E, or [ ] F below, or

B         [U]       Payment to begin (may be combined with                         [ ] C,    [ ] D, or [U] F below); or

C         []        Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of                          (e.g., months or
                    years), to commence (e.g., 30 or 60 days) after the date of this judgment ; or

D         []        Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of   (e.g., months or
                    years), to commence (e.g., 30 or 60 days) after the release from imprisonment to a term of supervision; or

E         []        Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
                    imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
                    that time; or

F         [U]       Special instructions regarding the payment of criminal monetary penalties:

          The fine of $21,000.00 is due within 30 days after sentencing. Any unpaid balance is to be paid during the period of
          probation in monthly installments of 10% of your gross monthly income, commencing 30 days after the start of
          probation. The court may order that this requirement be changed from time to time as your circumstances warrant, but
          no court order shall be required for your voluntary agreement to pay more than the court-ordered amount. Interest shall
          begin accruing on any remaining balance commencing 30 days after the start of probation. Payments must be made by
          payroll deduction, when applicable. You must notify the probation officer of any change in your financial circumstances
          that affect your ability to pay. Your financial circumstances must be reviewed by the probation officer on at least an
          annual basis.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


[]        Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number, Total Amount, Joint and Several
          Amount, and corresponding pay, if appropriate.



[]        The defendant shall pay the cost of prosecution.

[]        The defendant shall pay the following court cost(s):

[]        The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
